Case 3:17-cv-00072-NKM-JCH Document 354-17 Filed 10/02/18 Page 1 of 2 Pageid#:
                                   3296




                  EXHIBIT 16
Case 3:17-cv-00072-NKM-JCH Document 354-17 Filed 10/02/18 Page 2 of 2 Pageid#:
                                   3297


  From:           Seguin Strohmeier
  To:             Charlottesville External; BSF Charlottesville; z/Project X - Charlottesville
  Subject:        FW: Discovery updates
  Date:           Monday, April 9, 2018 4:29:52 PM




  From: James Kolenich [mailto:jek318@gmail.com]
  Sent: Monday, April 9, 2018 4:28 PM
  To: YBarkai@bsfllp.com; Seguin Strohmeier <sstrohmeier@kaplanandcompany.com>
  Subject: Discovery updates

  Remaining discovery:

  Jason Kessler is complete and notary form received. We are working to provide his
  documentary evidence which is all electronic. Should be provided no later than this
  Wednesday.

  Vanguard America is completed but waiting on a notarized signature from their authorized
  person, Mr. Dillon Hopper. Document is expected by tomorrow.

  Matt Heimbach is completed but waiting on notarized signature. Document is expected by
  tomorrow.

  Robert Ray is completed but waiting on notarized signature. Document is expected by
  tomorrow.

  Matt Parrott is in process and therefore so is Traditionalist Worker Party. Expected by this
  Wednesday.

  Elliott Kline/Eli Mosely is in process. Expected by this Wednesday.

  Thanks,

  Jim Kolenich

  --
  James E. Kolenich
  Kolenich Law Office
  9435 Waterstone Blvd. #140
  Cincinnati, OH 45249
  513-444-2150
  513-297-6065(fax)
  513-324-0905 (cell)
